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                                        November 2, 2021

BY HAND DELIVERY & CM/ECF

The Honorable Leonard P. Stark
United States District Court for the District of Delaware
J. Caleb Boggs Federal Building
844 North King Street
Wilmington, DE 19801-3570

               Re:    Crystallex International Corp. v. Bolivarian Republic of Venezuela,
                      D. Del. C.A. No. 1:17-mc-00151-LPS

Dear Judge Stark:

        Pursuant to the Court’s October 29, 2021 Oral Order (D.I. 383, the “Oral Order”), on
behalf of Special Master Robert B. Pincus, Crystallex, the Venezuela Parties, ConocoPhillips,
the Intervenors Blackrock Financial Management, Inc. and Contrarian Capital
Management, L.L.C., and OI European Group B.V. (collectively, the “Parties,” and each a
“Party”), I write in regards to the hearing scheduled for November 8, 2021 (D.I. 337, the
“Hearing”) in the above referenced matter. 1

        At this time, it is the understanding of the Parties that neither any Party nor any other
party of which they are aware requests to appear and present argument remotely at the Hearing.
The Parties have no objection to the Court requiring the set-up of the teleconference lines
described in Your Honor’s Oral Order.

       The Parties remain available at the Court’s convenience should Your Honor have any
questions.

                                                             Respectfully submitted,

                                                             /s/ Myron T. Steele

                                                             Myron T. Steele (#00002)

                                                             Counsel for Special Master
                                                             Robert B. Pincus

1
  All capitalized terms used but not otherwise defined herein, have the meanings ascribed to such
terms in the Court’s May 27, 2021 Order Regarding Special Master (D.I. 277).
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The Honorable Leonard P. Stark
November 2, 2021
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cc:   All Counsel of Record (via CM/ECF)
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